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                               UNITED STATES DISTRICT COURT
                               F'OR THE DISTRICT           O['COLUMBIA



AMERICAN HOSPITAL ASSOCIATION,                  er   al,
                          Plaintiffs,
                                                             Civil Action No. 14-cv-00851 (JEB)
                   v.

ALEX M. AZAR II, in his official capacity      as
ACTING SECRETARY OF HEALTH
AND HUMAN SERVICES,

                          Defendant.




                               DECLARATION OF JENEEN IWUGO

        1   .      I am the Deputy Director, Quality Improvement and Irurovation Group, of the

Center for Clinical Standards and Quality (CCSQ) at the Centers for Medicare & Medicaid

Services (CMS) within the Department of Health a¡d Human Services (HHS or Department). I

have held this position since June 2015. Prior to this position, from December 2012 to June

2015, I was the Director for the Beneficiary and Healthcare Improvement and Safety Division

within CMS. Among my duties in my curent position, I oversee the Quality Improvement

Organization (QIO) pro gram.

        2.         The statements made in this declaration are based on my personal knowledge,

information contained in agency files, and information furnished to me in the course of my

official duties.

        3.         The mission of the QIO program is to improve the effectiveness, efficiency,

economy, and quaiity of services delivered to Medicare beneficiaries and to ensure that those

services are reasonable and necessary. CMS has identified the core functions of the QIO

program as improving care for Medicare beneficiaries, protecting beneficiaries by expeditiously
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addressing individual complaints, reviews, or appeals from provider notices of discharge or

termination of services or violations of the Emergency Medical Treatment and Labor Act

(EMTALA), and protecting the integrity of the Medicare Trust Funds by ensuring that Medicare

pays only for services and goods that are reasonable and necessary and that are provided in the

most appropriate setting. The quality improvement strategies of the Medicare QIO program are

predominantly implemented by QIO contractors who work directiy with health care providers

and practitioners in their geographic service areas. In 2014, CMS separated QIO functions into

two separate sets of contractors: (1) Beneficiary and Family Centered Care (BFCC)-QIOs, which

primarily perform case review; and (2) Quality Innovation Network (QIN)-QIOs, which support

healthcare delivery professionals and systems in performing quality improvement work.

       3.      There are currently two BFCC-QIO contractoÍs which are under a 5-year contract

until 2019: Livanta LLC and KePRO. They are responsible for performing statutorily mandated

case review activities and   interventions. BFCC-QIOs help Medicare beneficiaries exercise their

right to high-quality health care. They manage all benelìciary cornplaints and quality ofcare

reviews to ensure consistency in the review process while taking into consideration local factors

important to beneficiaries and their families. They also handle cases in which beneficiaries want

to appeal a health care provider's decision to discharge them from the hospital or discontinue a

service, and Emergency Medical Treatment and Labor Act (EMTALA) reviews.

       4.      On September 12,2016, CMS transferred responsibility for reviewing inpatient-

status claims (also known as "two-midnight reviews") to the BFCC-QIO contractors, who

perform peer review of quality of care cases and claim reviews, instead of the Recovery Audit

Contractors (RACs) or Medicare Administrative Contractors (MACs). In response to

instructions from CMS, BFCC'QIOs review far fewer of these claims than the RACs did. For


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example, they may only review 175 providers in each of 5 geographic regions and may review as

few as 10 claims per provider. While RACs are directed to reduce program integrity risk to the

Medicare Trust Funds by seeking out and correcting improper payments, QIOs are funded to

perform reviews to ensure the quality of Medicare services meets appropriate standards and to

ensure beneficiary protection. To this end, QIOs provide education to all providers with

inpatient-status claims denied as a result of QIO review, including individuali2ed, claim-by-

claim denial rationales and clinical details. This provider-specific education is interactive,

allowing the provider an opportunity to review the BFCC-QIO claim decisions, ask questions,

and receive meaningful feedback from the QIO conducive to behavioral change and increased

provider compliance. The QIO can subsequently refer a provide¡ to the RAC after the provider

fails to make improvements in billing practices despite repeated educational efforts from the

QIOs.

        5.     The total number of inpatient-status claim reviews performed by the BFCC-QIOs

from September 12,2016 through June 12, 2018 is 66,183, with approximately 19,000 reviews

performed in 2017. To date, CMS has recouped approximately $32 million in ovelpayments

resulting from QIO two-midnight reviews.

        6.      Shifting all hospital claim reviews   - notjust   inpatient-status ciaim reviews   -   to

the QIOs would not be feasible as a practical matter. QIOs do not perform as many reviews as

the RACs, and most of the reviews QIOs perform focus on beneficiary appeals, not post-payment

review of submitted claims. During the last four years (48 months) of the QIO contract, the

BFCC-QIOs have performed approximately 840,000 total reviews. Of these, approximately

560,000 reviews were expedited beneficiary appeals of discharges or service terminations by

hospitals, skilled nursing facilities, and other providers. The BFCC-QIOs also reviewed over


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150,000 Diagnostic Related Groups (DRG) cases from hospitals, in which the hospitals are

seeking an increased Medicare payment. BFCC-QIO DRG reviews are designed to validate            if
the diagnosis code billed matches the care a patient received to ensr¡re the correct code has been

billed. BFCC-QIO DRG reviews examine how a patient          presented to a hospital for care, how

they were diagnosed and treated by the hospital provider and then how the claim was coded by

the hospital for Medicare payment, using various Medicare payment rules and guidelines. As

discussed above, the BFCC-QIOs have also performed 66,183 inpatient-status reviews as ofJune

12,2018. Because the QIOs perform fewer reviews overall, and far fewer post-payment reviews

than the RACs, we believe a transition of all hospital claim reviews to QIOs would decrease the

agency's ability to colrect the improper payments of hospital claims and would create an

increased risk to the integrity   ofthe Medicare Trust Funds.

        7.      Based on our experience with transferring the inpatient-status reviews to the

QIOs, during which we suspended review to make sure that the QIO reviewers were trained and

reviewing claims consistently, we anticipate that transfening post-pay review ofall hospital

claims to the QIOs would also involve extensive capacity building and training, and could take at

least a year.

        8.      Unlike the RACs (which are paid on     a contingency basis), the   BFCC QIOs are

paid from the Medicare Trust Funds. They are paid on a cost-plus basis for the reviews. Adding

all hospital claim reviews to the BFCC QIO contracts would substantially increase palment for

these reviews from the Trust Funds.




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              I declare under penalty ofperjury that the foregoing is true and correct to the best

of my knowledge and belief.
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       Executed on AugustJ, 2018 in Baltimore, Maryland.
